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                       1     BANKRUPTCY RECOVERY GROUP, LLC
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                       2     Nevada Bar No. 9040
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                       5     7251 Amigo Street, Suite 210
                             Las Vegas, Nevada 89119
                       6     Tel: (702) 483-6126
                             Attorneys for ACF FINCO I, LP
                       7
                                                     UNITED STATES BANKRUPTCY COURT
                       8
                                                               DISTRICT OF NEVADA
                       9
                            In re:                                            CASE NO. BK-S-20-12814-MKN
                      10
                            RED ROSE, INC.,                                     Jointly Administered with
                      11                                                        Case No. BK-S-20-12815-MKN
                                        Affects Beachhead Roofing and           Case No. BK-S-20-12816-MKN
                      12                Supply, Inc.                            Case No. BK-S-20-12818-MKN
                                        Affects California Equipment Leasing Case No. BK-S-20-12819-MKN
                      13                Association, Inc.                       Case No. BK-S-20-12820-MKN
                                        Affects Fences 4 America, Inc.          Case No. BK-S-20-12821-MKN
                      14                Affects James Petersen Industries, Inc. Case No. BK-S-20-12822-MKN
                                        Affects PD Solar, Inc.                  Case No. BK-S-20-12823-MKN
                      15                Affects Petersen Roofing and Solar      Case No. BK-S-20-12824-MKN
                                        LLC                                     Case No. BK-S-20-12825-MKN
                      16                Affects Petersen-Dean, Inc.             Case No. BK-S-20-12826-MKN
                                        Affects PetersenDean Hawaii LLC         Case No. BK-S-20-12827-MKN
                      17                Affects PetersenDean Roofing and        Case No. BK-S-20-12829-MKN
                                        Solar Systems, Inc.                     Case No. BK-S-20-12831-MKN
                      18                Affects PetersenDean Texas, Inc.        Case No. BK-S-20-12833-MKN
                                        Affects Red Rose, Inc.
                      19                Affects Roofs 4 America, Inc.           Chapter 11
                                        Affects Solar 4 America, Inc.
                      20                Affects Sonoma Roofing Services,
                                        Inc.                                    Date:      October 21, 2021
                      21                Affects TD Venture Fund, LLC            Time:      9:30 a.m.
                                        Affects Tri-Valley Supply, Inc.         Location: 300  South Las Vegas Boulevard
                      22                Affects All Debtors                                Courtroom  2
                                                                                           Las Vegas, Nevada 89101
                      23
                              STATUS REPORT FOR THE FIRST AVOIDANCE ACTIONS OMNIBUS HEARING
                      24
                                     ACF Finco I, LP, by and through its counsel, Bankruptcy Recovery Group, LLC, hereby
                      25

                      26    respectfully files this status report pursuant to this Court’s Order Establishing Streamlined

                      27    Procedures Governing Associated Adversary Proceedings Brought Pursuant to 11 U.S.C. §§ 547

                      28
     BANKRUPTCY
RECOVERY GROUP, LLC
 7251 Amigo St., Ste. 210
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                       1    Through 550 (the “Procedures Order”) [ECF No. 1992]1 and reports as follows with respect to the

                       2    Adversary Proceedings filed to date:
                       3
                            A.         ADVERSARY PROCEEDINGS IN THE MEDIATION PROCESS
                       4
                                  Adversary                                     Case Name                                       Status
                       5           Case No.

                       6        21-01084-mkn        ACF Finco I, LP v. Berridge Manufacturing Company                     Mediation
                                                                                                                          being scheduled
                       7                                                                                                  in December
                                                                                                                          2021
                       8
                                21-01087-mkn        ACF Finco I, LP v. Emergency Roadside Assistance, Inc.                Mediation
                       9                                                                                                  being scheduled
                                                                                                                          in November
                      10                                                                                                  2021

                      11        21-01097-mkn        ACF Finco I, LP v. Penske Truck Leasing Co., L.P. and Motion to
                                                    PTL, GP, LLC                                          Dismiss filed on
                      12                                                                                  10/7/2021 [ECF
                                                                                                          No. 9];
                      13                                                                                  Mediation to be
                                                                                                          scheduled in
                      14                                                                                  Nov/Dec 2021

                      15        21-01099-mkn        ACF Finco I, LP v. Victor Venegas Duran d/b/a V&S Mediation
                                                    Material Stockers                                 being scheduled
                      16                                                                              on November
                                                                                                      11/18/2021, at
                      17                                                                              1:00 p.m.

                      18        21-01100-mkn        ACF Finco I, LP v. Valley Gutter Supply, Inc.                         Mediation
                                                                                                                          being scheduled
                      19                                                                                                  in Nov/Dec
                                                                                                                          2021
                      20
                                21-01158-mkn        ACF Finco I, LLP v. American Builders & Contractors Mediation
                      21                            Supply Co. d/b/a ABC Supply                         scheduled on
                                                                                                        11/19/2021, at
                      22                                                                                9:30 a.m.

                      23
                            ...
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                            ...
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                            1
                      28        All capitalized, undefined terms have the meaning set forth in the Procedures Order.

     BANKRUPTCY
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                       1    B.      ADVERSARY PROCEEDINGS WHERE THE ANSWER IS DUE AFTER
                                    NOVEMBER 14, 2021
                       2
                                 Adversary                        Case Name                                Status
                       3          Case No.

                       4     21-01141-mkn    ACF Finco I, LP v. Natural Concepts Marketing Group Inc. Answer due
                                             d/b/a Ad Leverage                                        11/15/2021;
                       5                                                                              Mediation
                                                                                                      process starts
                       6                                                                              on 11/30/2021
                             21-01142-mkn    ACF Finco I, LP v. Almeda County                         Answer due
                       7                                                                              11/15/2021;
                                                                                                      Mediation
                       8                                                                              process starts
                                                                                                      on 11/30/2021
                       9     21-01143-mkn    ACF Finco I, LP v. Arch Companies LLC d/b/a Arch Answer due
                                             Roofing                                                  11/15/2021;
                      10                                                                              Mediation
                                                                                                      process starts
                      11                                                                              on 11/30/2021
                             21-01144-mkn    ACF Finco I, LP v. Chowchilla Elementary School District Answer due
                      12                                                                              11/15/2021;
                                                                                                      Mediation
                      13                                                                              process starts
                                                                                                      on 11/30/2021
                      14     21-01145-mkn    ACF Finco I, LP v. Custom Built Holdings, LLC d/b/a Answer due
                                             Custom-Built Metals                                      11/15/2021;
                      15                                                                              Mediation
                                                                                                      process starts
                      16                                                                              on 11/30/2021
                             21-01146-mkn    ACF Finco I, LP v. JA Gutter and Soffit LLC              Answer due
                      17                                                                              11/15/2021;
                                                                                                      Mediation
                      18                                                                              process starts
                                                                                                      on 11/30/2021
                      19     21-01147-mkn    ACF Finco I, LP v. JR Metal Express, Inc.                Answer due
                                                                                                      11/15/2021;
                      20                                                                              Mediation
                                                                                                      process starts
                      21                                                                              on 11/30/2021
                             21-01148-mkn    ACF Finco I, LP v. OKTA Inc.                             Answer due
                      22                                                                              11/15/2021;
                                                                                                      Mediation
                      23                                                                              process starts
                                                                                                      on 11/30/2021
                      24     21-01149-mkn    ACF Finco I, LP v. Nick Barbieri Trucking, LLC d/b/a Answer due
                                             Redwood Coast Fuels                                      11/15/2021;
                      25                                                                              Mediation
                                                                                                      process starts
                      26                                                                              on 11/30/2021
                             21-01150-mkn    ACF Finco I, LP v. Riedel Construction, Inc.             Answer due
                      27                                                                              11/15/2021;
                                                                                                      Mediation
                      28
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                       1         Adversary                         Case Name                              Status
                                  Case No.
                       2
                                                                                                    process starts
                       3                                                                            on 11/30/2021
                             21-01151-mkn    ACF Finco I, LP v. Southern Counties Oil Co., d/b/a SC Answer due
                       4                     Fuels                                                  11/15/2021;
                                                                                                    Mediation
                       5                                                                            process starts
                                                                                                    on 11/30/2021
                       6
                             21-01152-mkn    ACF Finco I, LP v. Silfab Solar USA, Inc.       Answer due
                       7                                                                     11/15/2021;
                                                                                             Mediation
                       8                                                                     process starts
                                                                                             on 11/30/2021
                       9     21-01153-mkn    ACF Finco I, LP v. Sombrilla Roofing LLC        Answer due
                                                                                             11/15/2021;
                      10                                                                     Mediation
                                                                                             process starts
                      11                                                                     on 11/30/2021
                             21-01155-mkn    ACF Finco I, LP v. TPx Communications Co.       Answer due
                      12                                                                     11/15/2021;
                                                                                             Mediation
                      13                                                                     process starts
                                                                                             on 11/30/2021
                      14     21-01156-mkn    ACF Finco I, LP v. VAR Technology Finance North Answer due
                                             America, Inc.                                   11/15/2021;
                      15                                                                     Mediation
                                                                                             process starts
                      16                                                                     on 11/30/2021
                             21-01157-mkn    ACF Finco I, LLP v. West Coast Equipment LLC    Answer due
                      17                                                                     11/15/2021;
                                                                                             Mediation
                      18                                                                     process starts
                                                                                             on 11/30/2021
                      19
                            C.      ADVERSARY PROCEEDINGS WHERE DEFAULT HAS BEEN ENTERED
                      20
                                 Adversary                         Case Name                              Status
                      21          Case No.
                      22     21-01085-mkn    ACF Finco I, LP v. Diamante Sheet Metal, LLC     Default Entered
                                                                                              on 10/8/2021
                      23                                                                      [ECF No. 12]
                             21-01086-mkn    ACF Finco I, LP v. EB Roofing LLC                Default Entered
                      24                                                                      on 10/12/2021
                                                                                              [ECF No.10]
                      25     21-01088-mkn    ACF Finco I, LP v. Eusebio Guevara d/b/a Guevara Default Entered
                                             Roofing Services                                 on 10/12/2021
                      26                                                                      [ECF No. 12]
                      27     21-01089-mkn    ACF Finco I, LP v. Gibbor Construction, Inc.     Default Entered
                                                                                              on 10/12/2021
                      28                                                                      [ECF No. 10]
     BANKRUPTCY
RECOVERY GROUP, LLC                                                      4
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                       1       Adversary                            Case Name                             Status
                                Case No.
                       2
                             21-01090-mkn    ACF Finco I, LP v. JC Custom Roofing, Inc.              Default Entered
                       3                                                                             on 10/12/2021
                                                                                                     [ECF No. 10]
                       4     21-01091-mkn    ACF Finco I, LP v. JC Roofing, L.L.C.                   Default Entered
                                                                                                     on 10/12/2021
                       5                                                                             [ECF No. 10]
                             21-01092-mkn    ACF Finco I, LP v. JJ Best Roofing LLC                  Default Entered
                       6                                                                             on 10/12/2021
                                                                                                     [ECF No. 10]
                       7     21-01093-mkn    ACF Finco I, LP v. John E. Patison d/b/a JP Electrical Default Entered
                                             Power & Controls                                        on 10/__/2021
                       8                                                                             [ECF No. ]
                             21-01094-mkn    ACF Finco I, LP v. Juan E. Cruz d/b/a Juan Cruz Roofing Default Entered
                       9                                                                             on 10/12/2021
                                                                                                     [ECF No. 12]
                      10     21-01096-mkn    ACF Finco I, LP v. Primos Roofing and Construction Inc. Default Entered
                                                                                                     on 10/12/2021
                      11                                                                             [ECF No. 10]
                             21-01095-mkn    ACF Finco I, LP v. R&R Services Inc.                    Default Entered
                      12                                                                             on 10/12/2021
                                                                                                     [ECF No. 10]
                      13     21-01098-mkn    ACF Finco I, LP v. Lorenzo Almaguer d/b/a SOL Sheet Default Entered
                                             Metal Roofing                                           on 10/12/2021
                      14                                                                             [ECF No. 12]
                      15
                                  Dated this 14th day of October, 2021.
                      16
                                                                      BANKRUPTCY RECOVERY GROUP, LLC
                      17
                                                                      By: /s/ Talitha Gray Kozlowski ________
                      18                                                 TALITHA GRAY KOZLOWSKI, ESQ.
                                                                         GARRETT NYE, ESQ.
                      19                                                 7251 Amigo Street, Suite 210
                                                                         Las Vegas, Nevada 89119
                      20                                                 Counsel for ACF FINCO I, LP
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